
83 So. 3d 984 (2012)
Kevin PEACOCK, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-5902.
District Court of Appeal of Florida, First District.
March 28, 2012.
Kevin Peacock, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
Petitioner is hereby granted a belated appeal of the June 24, 2011, Order Dismissing With Prejudice Defendant's "Amended Motion for Postconviction Relief," in Escambia County Circuit Court case number 2002-CF-005049A. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(6)(D).
ROBERTS, CLARK, and SWANSON, JJ., concur.
